     Case: 2:20-mj-00409-KAJ Doc #: 8 Filed: 01/29/21 Page: 1 of 3 PAGEID #: 56




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


  IN THE MATTER OF:                                       CASE NO. _________________

  SEARCH AND SEIZURE WARRANTS,
  APPLICATIONS, PEN REGISTERS, AND                        UNDER SEAL
  NON-DISCLOSURE ORDERS IN THE
  CASES LISTED IN ATTACHMENT A



                                      MOTION TO SEAL

       Now comes the United States of America, by and through undersigned counsel, and

respectfully requests pursuant to Federal Rule of Criminal Procedure 41(f)(3) and 18 U.S.C.

§ 3103a(b)(3), that the Search and Seizure Warrants, Applications, Pen Registers,

Non­Disclosure Orders, and related documents in the cases listed in Attachment A be sealed

until July 31, 2021, or upon a motion by the United States and additional order by the Court to

unseal. The undersigned counsel represents that there has been a review of each of the cases

listed in Attachment A and that each relates to an extensive, ongoing, and long-term criminal

investigation that would be compromised if the existence of these investigations became known.

The United States represents that if the documents in Attachment A were unsealed, pertinent

evidence may be destroyed, or additional persons associated with the investigation may attempt

to flee the jurisdiction of the court if targets or persons associated become aware of said Search

and Seizure Warrants, Applications, Pen Registers, Non-Disclosure Orders, and related

documents in the cases listed in Attachment A.

       WHEREFORE, the government respectfully requests that the Search and Seizure

Warrants, Applications, Pen Registers, Non-Disclosure Orders, and related documents in the

cases listed in Attachment A in the above-entitled cause, be sealed until July 31, 2021, or upon a
     Case: 2:20-mj-00409-KAJ Doc #: 8 Filed: 01/29/21 Page: 2 of 3 PAGEID #: 57




motion by the United States and additional order by the Court to unseal, which will ensure that

the above­mentioned investigations can continue without the targets or persons associated with

the investigation becoming aware.


                                                    Respectfully submitted,

                                                    DAVID M. DEVILLERS
                                                    United States Attorney

                                                     s/ Sheila G. Lafferty
                                                    SHEILA G. LAFFERTY (0042554)
                                                    Assistant United States Attorney
                                                    303 Marconi Boulevard, Suite 200
                                                    Columbus, Ohio 43215
                                                    Office: (614) 469-5715
                                                    Fax: (614) 469-5653
                                                    E-mail: Sheila.lafferty@usdoj.gov
    Case: 2:20-mj-00409-KAJ Doc #: 8 Filed: 01/29/21 Page: 3 of 3 PAGEID #: 58




                                ATTACHMENT A


2:19-MJ-894
2:19-MJ-905
2:19-MJ-923
2:19-MJ-958
2:20-MJ-075
2:20-MJ-118
2:20-MJ-145
2:20-MJ-146
2:20-MJ-147
2:20-MJ-151
2:20-MJ-164
2:20-MJ-165
2:20-MJ-166
2:20-MJ-310
2:20-MJ-402
2:20-MJ-409
2:20-MJ-467
2:20-MJ-468
2:20-MJ-525
2:20-MJ-577
2:20-MJ-586
2:20-MJ-602
2:20-MJ-633
2:20-MJ-655
2:20-MJ-677
2:20-MJ-693
2:20-MJ-697
2:20-MJ-699
2:20-MJ-712
2:20-MJ-723
2:20-MJ-749
2:20-MJ-755
2:20-MJ-776
